                                 United States Bankruptcy Court
                                 Western District of New York
THE CONTINENTAL INSURANCE COMPANY, succe,
      Plaintiff                                                                                                        Adv. Proc. No. 23-02014-PRW
The Diocese of Rochester,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0209-2                                                   User: admin                                                                Page 1 of 2
Date Rcvd: Mar 01, 2024                                                Form ID: pdforder                                                         Total Noticed: 3
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 03, 2024:
Recip ID                   Recipient Name and Address
                         + Mark Bruh, Esq., Office of US Trustee, Alexander Hamilton Custom house, 1 Bowling Green, Suite 534, New York, NY 10004-1459
dft                      + The Diocese of Rochester, 1150 Buffalo Road, Rochester, NY 14624-1890

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                      + Email/Text: ustpregion02.ro.ecf@usdoj.gov
                                                                                        Mar 01 2024 18:22:00      Office of the U.S. Trustee, 100 State Street, Room
                                                                                                                  6090, Rochester, NY 14614-1315

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 03, 2024                                            Signature:           /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 1, 2024 at the address(es) listed
below:
Name                               Email Address
David C. Christian, II
                                   on behalf of Plaintiff THE CONTINENTAL INSURANCE COMPANY successor by merger to Commercial Insurance Company
                                   of Newark, New Jersey, and Fireman's Insurance Company of Newark, New Jersey dchristian@dca.law

Ilan D Scharf
                                   on behalf of Interested Party Official Committee of Unsecured Creditors ischarf@pszjlaw.com
                                   lcanty@pszjlaw.com;nrobinson@pszjlaw.com;bdassa@pszjlaw.com



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District/off: 0209-2                                     User: admin                                                       Page 2 of 2
Date Rcvd: Mar 01, 2024                                  Form ID: pdforder                                                Total Noticed: 3
Jeffrey Austin Dove
                          on behalf of Plaintiff THE CONTINENTAL INSURANCE COMPANY successor by merger to Commercial Insurance Company
                          of Newark, New Jersey, and Fireman's Insurance Company of Newark, New Jersey jdove@barclaydamon.com,
                          avrooman@barclaydamon.com,jeffrey-dove-1212@ecf.pacerpro.com

Mark D. Plevin
                          on behalf of Plaintiff THE CONTINENTAL INSURANCE COMPANY successor by merger to Commercial Insurance Company
                          of Newark, New Jersey, and Fireman's Insurance Company of Newark, New Jersey mplevin@crowell.com,
                          mark-plevin-crowell-moring-8073@ecf.pacerpro.com

Miranda Turner
                          on behalf of Plaintiff THE CONTINENTAL INSURANCE COMPANY successor by merger to Commercial Insurance Company
                          of Newark, New Jersey, and Fireman's Insurance Company of Newark, New Jersey mturner@crowell.com

Stephen A. Donato
                          on behalf of Defendant The Diocese of Rochester sdonato@bsk.com ayerst@bsk.com;kdoner@bsk.com;CourtMail@bsk.com


TOTAL: 6




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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
_________________________________________

In re:

         The Diocese of Rochester,                Bankruptcy Case No. 19-20905-PRW
                                                  Chapter 11

                              Debtor,

_________________________________________

         The Continental Insurance Company, successor
               by merger to Commercial Insurance
               Company of Newark, New Jersey, and
               )LUHPDQ¶V,QVXUDQFH&RPSDQ\RI
               Newark, New Jersey,

                              Plaintiff,          Adversary Proceeding No. 23-2014-PRW

                v.

         The Diocese of Rochester,

                        Defendant.
_________________________________________


                                DECISION AND ORDER
                       DENYING MOTION TO DISMISS COMPLAINT
                     AND DIRECTING PARTIES TO MEET AND CONFER
                     FOR THE PURPOSE OF PREPARING A PROPOSED
                        SCHEDULE FOR AN ACCELERATED TRIAL
                      OF THIS ACTION AND THE RELATED REQUEST
                         )25(67,0$7,212)&1$¶6§ 503 CLAIM

PAUL R. WARREN, U.S.B.J.

         &RQWLQHQWDO,QVXUDQFH&RPSDQ\ ³&1$´ FRPPHQFHGWKLVDFWLRQDJDLQVWWKH'LRFHVHE\

filing a Complaint alleging that the Diocese breached a settlement agreement with CNA. (ECF

AP No. 1). CNA has also requested that the Court conduct a trial, either in advance of a




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FRQILUPDWLRQ KHDULQJ RU DV SDUW RI D FRQILUPDWLRQ KHDULQJ WR HVWLPDWH WKH YDOXH RI &1$¶V

administrative claim under § 503 of the Code. (ECF AP No. 18).

        The Diocese moved to dismiss the Complaint under Rule 12(b)(6) FRCP, made applicable

to this action by Rule 7012 FRBP. The issue is not whether CNA will prevail on its claims for

breach of contract (despite the unceasing efforts of the Diocese to have the Court focus on the

PHULWV RI WKH &1$ FODLPV   ,QVWHDG WKH QDUURZ LVVXH SUHVHQWHG LV ZKHWKHU &1$¶V &RPSODLQW

alleges sufficient facts to state a claim for breach of contract that is plausible enough to survive a

motion to dismiss.

        )RUWKHUHDVRQVWKDWIROORZWKH'LRFHVH¶VPRWLRQWRGLVPLVV&1$¶V&RPSODLQWXQGHU5XOH

12(b)(6) is DENIED.1 The Diocese and Committee¶V REMHFWLRQs WR &1$¶V $SSOLFDWLRQ IRU

Administrative Claim status (ECF BK No. 2406, 2407, 2413) DQG&1$¶V0RWLRQIRU(VWLPDWLRQ

of its alleged administrative claim (ECF BK Nos. 2314, 2453) will be considered in connection

ZLWKDQH[SHGLWHGWULDOWRGHWHUPLQHWKHPHULWVRI&1$¶V&RPSODLQW

                                                   I.
                                          JURISDICTION
        The Court has jurisdiction under 28 U.S.C. §§ 157(a), 157(b)(1) and 1334. The proceeding

is core, under 28 U.S.C. § 157(b)(2)(A).




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       The Committee filed a consolidated motion seeking dismissal of the Complaint as well as
GHQLDORI&1$¶VDGPLQLVWUDWLYHH[SHQVHFODLP (&)$31R 7KHDUJXPHQWVPDGHLQWKH
&RPPLWWHH¶VPRWLRQH[FOXVLYHO\FKDOOHQJH&1$¶VDSSOLFDWLRQIRUDQDGPLQLVWUDWLYHH[SHQVHFODLP
DQGDSDUWIURPD³-RLQGHUDQG5HVHUYDWLRQRI5LJKWV´ (&)$31R¶ 46-47), by which the
&RPPLWWHHMRLQVLQWKH'LRFHVH¶VPRWLRQWRGLVPLVVWKH&RPPLWWHHDVVHUWVQRLQGHSHQGHQWEDVLV
to dismiss the Complaint. $FFRUGLQJO\WKH&RXUW¶VGHQLDORIWKH'LRFHVH¶VPRWLRQXQGHU5XOH
 E  LVQHFHVVDULO\DGHQLDORIWKH&RPPLWWHH¶VPRWLRQ to dismiss.
                                                   2



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                                                  II.
                              APPLICABLE LEGAL STANDARDS
        This lawsuit is in its infancy²colloquially FDOOHGLWV³SOHDGLQJVWDJH´,WLVLPSRUWDQWWR

understand that, because we are only at the pleading stage, the issue before the Court is very

QDUURZUHTXLULQJWKDWWKH&RXUW¶VILHOGRIYLVLRQEHOLPLWHG7KH&RXUWLVQRWWDVNHGZLWKGHFLGLQJ

whether CNA or the Diocese ³ZLOO XOWLPDWHO\ SUHYDLO >LQ WKLVOLWLJDWLRQ@EXW ZKHWKHU [CNA] is

HQWLWOHG WR RIIHU HYLGHQFH WR VXSSRUW WKH FODLPV´  0RRUH¶V )HGHUDO 3UDFWLFH  >@>D@

(Matthew Bender 3d ed.) (quoting Scheuer v. Rhodes, 416 U.S. 232, 236 (1974)); see also

Bernheim v. Litt, 79 F.3d 318, 321 (2d Cir. 1996). So, while the Abuse Survivors may be frustrated

and wish that the Court would just get on with it, the Chapter 11 case and its related litigation is

complex and not the stuff of simple solutions.

A.      Rules 8(a) and 8(d)(1)

        Rule 8(a)(2) requires that a complaint contain ³a short and plain statement of the claim

VKRZLQJWKDWWKHSOHDGHULVHQWLWOHGWRUHOLHI´5XOH D )5&3³5XOH D  ¶VSXUSRVHLVWRJLYH

the defendant fair notice of what the claim is and the grounds upon which it rests´LaCroix v.

Western Dist. of Ky., 627 Fed. App¶x 816, 818 (11th Cir. 2015) (emphasis added) (internal

quotation marks omitted) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). The

Rules of Civil Procedure require that tKHDOOHJDWLRQVLQWKHFRPSODLQW³PXVWEHVLPSOHFRQFLVH

DQGGLUHFW´DQGWKDWWKHFRPSODLQW³VWDWHLWVFODLPVLQQXPEHUHGSDUDJUDSKVHDFKOLPLWHGDVIDU

DVSUDFWLFDEOHWRDVLQJOHVHWRIFLUFXPVWDQFHV´5XOHV G    E )5&37KHZRUGFODLP

GHQRWHV³WKH DJJUHJDWHRIRSHUDWLYHIDFWV ZKLFK JLYHULVHWR DULJKWHQIRUFHDEOHLQ WKHFRXUWV´

Original Ballet Russe, Ltd. v. Ballet Theatre, Inc., 133 F.2d 187, 189 (2d Cir. 1943).




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B.      Rule 12(b)(6) FRCP

        When considering a motion under Rule 12(b)(6), seeking dismissal of a complaint for

failure to state a claim upon which relief can be granted, the Court must accept factual allegations

in the complaint as true. Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009); Cleveland v. Caplaw

Enters., 448 F.3d 518, 521 (2d Cir. 2006). The Court is required to draw reasonable inferences

IURPWKHFRPSODLQWLQIDYRURIWKHSODLQWLIILQGHWHUPLQLQJZKHWKHUWKHSODLQWLIISURYLGHV³HQRXJK

facts to state a claim to relief thaWLVSODXVLEOHRQLWVIDFH´Twombly, 550 U.S. at 570; see also

Doe v. Columbia Univ., 831 F.3d 46, 48 (2d Cir. 2016); VDXJKQY$LU/LQH3LORWV$VV¶Q,QW¶O, 604

F.3d 703, 709 (2d Cir. 2010) (citation omitted). A complaint is plausible on its face when it

FRQWDLQV³IDFWXDOFRQWHQWWKDWDOORZVWKHFRXUWWRGUDZWKHUHDVRQDEOHLQIHUHQFHWKDWWKHGHIHQGDQW

is liable for the misconduct alleged. The plausibiOLW\ VWDQGDUG LV QRW DNLQ WR D µprobability

requirement,¶ EXWLWDVNVIRUPRUHWKDQDVKHHUSRVVLELOLW\WKDWDGHIHQGDQWKDVDFWHGXQODZIXOO\´

Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556). While the facts alleged in a complaint

PD\WXUQRXWWREH³VHOI-serving and untrue,´ ³a court at this stage of [a] proceeding is not engaged

in an effort to determine the true facts. The issue is simply whether the facts the plaintiff alleges,

LIWUXHDUHSODXVLEO\VXIILFLHQWWRVWDWHDOHJDOFODLP´ Columbia Univ., 831 F.3d at 48. The court

should not consider facts outside ³the four corners of the complaint, the documents attached to the

FRPSODLQWDVH[KLELWVDQGDQ\GRFXPHQWVLQFRUSRUDWHGLQWKHFRPSODLQWE\UHIHUHQFH´McCarthy

v. Dun & Bradstreet Corp., 482 F.3d 184, 191 (2d Cir. 2007) (citing Taylor v. Vt. Dep't of Educ.,

313 F.3d 768, 776 (2d Cir. 2002)); In re Cornerstone Homes, Inc., 567 B.R. 37, 45-46 (Bankr.

W.D.N.Y. 2017) (Warren, J.). ³$ PRWLRQ DVVHUWLQJ IDLOXUH WR VWDWH D FODLP W\SLFDOO\ GRHV QRW

resolve contests surrounding the facts, the PHULWV RI D FODLP RU WKH DSSOLFDELOLW\ RI GHIHQVHV´

Galante v. Ocwen Loan Servicing LLC¸ No. ELH-13-1939, 2014 U.S. Dist. LEXIS 98049, at *25



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(D. Md. July 18, 2024) (internal quotation marks omitted) (quoting Edwards v. City of Goldsboro,

178 F.3d 231, 243 (4th Cir. 1999)).

                                                 III.
                          APPLICATION OF LEGAL STANDARDS
                                   TO COMPLAINT

 A.    Breach of Contract (First Cause of Action)

       For its first cause of action, CNA alleges that the Settlement Agreement between it and the

 Diocese is a contract, that the Diocese has breached that contract, that CNA performed as

 required, and that CNA has been damaged as a result of the breach by the Diocese. (ECF AP No.

 1 ¶¶ 47-50). The Settlement Agreement includes a provision by which the Settlement Agreement

 LV WR EH ³FRQVWUXHG LQ DFFRUGDQFH ZLWK 1HZ <RUN ODZ´  (&) $3 1R  DW   8.19). To

 adequately plead a cause of action for breach of contract under New York law, the plaintiff must

 allege facts showing that: (1) the parties entered into an agreement containing certain terms; (2)

 the plaintiff did what the agreement required them to do; (3) the defendant did not do what the

 agreement required them to do; and (4) the failure of the defendant to do what the agreement

 required caused a loss or will cause a loss to the plaintiff. Meloni v. RGM Distrib., Inc., 201 F.

 Supp. 3d 360, 370 (E.D.N.Y. 2016) (citations omitted).

       In the Complaint, CNA alleges that the Diocese entered into a contract with CNA (in the

 form of a settlement agreement) by which CNA would buy back the insurance policies it had

 issued to the Diocese for $63.5 million, which amount would be contributed to a trust for the

 benefit of Abuse Survivors. (ECF AP No. 1 ¶ 17). The parties finalized a Settlement Agreement

 memorializing their contract. (Id. at ¶ 18). CNA alleges that it undertook and performed the

 things it was required to do under the Settlement Agreement. (Id. at ¶¶ 47-49). The Diocese filed

 a motion requesting that the Court approve the Settlement Agreement, as required, but took no


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IXUWKHUVWHSVWRREWDLQWKH&RXUW¶VDSSURYDO Id. at ¶ 46). The Diocese subsequently entered into

a Restructuring Support Agreement with the Committee, and jointly proposed a Chapter 11 Plan

with the Committee, the terms of which are inconsistent with the Settlement Agreement. (Id. at

¶¶ 50-55). As a result, CNA alleges that it has incurred and will continue to suffer economic

GDPDJHVDVDUHVXOWRIWKH'LRFHVH¶VEUHDFKRIWKH6HWWOHPHQW$JUHHPHQW Id. at ¶¶ 56-61).

B.    Anticipatory Breach of Contract (Second Cause of Action)

      For its second cause of action, CNA alleges that the Settlement Agreement is a valid and

enforceable contract, the terms of which CNA has either performed or is willing and able to

perform. (ECF AP No. 1 ¶¶ 63-68). To adequately plead a cause of action for anticipatory breach

of contract under New York law, the plaintiff must allege facts showing that the

GHIHQGDQWSURPLVRUKDVLQGLFDWHG³DUHSXGLDWLRQRI>D@FRQWUDFWXDOGXW\EHIRUHWKHWLPHIL[HGLQ

WKHFRQWUDFWIRUSHUIRUPDQFHKDVDUULYHG´Princes Point LLC v. Muss Dev. L.L.C., 87 N.E.3d

121, 124 (N.Y. 2017) (quoting 10-54 Corbin on Contracts § 54.1 (2017)). The expression of

LQWHQW QRW WR SHUIRUP PXVW EH ³SRVLWLYH DQG XQHTXLYRFDO´  Princes Point, 87 N.E.3d at 124

(quoting Tenavision, Inc. v. Neuman  1(G   1<    ³>$@ ZURQJIXO

repudiation of the contract by one party before the time for performance entitles the

QRQUHSXGLDWLQJSDUW\WRLPPHGLDWHO\FODLPGDPDJHVIRUDWRWDOEUHDFK´Princes Point, 87 N.E.3d

at 125 (quoting American List Corp. v. U.S. News & World Report, Inc., 549 N.E.2d 1161, 1164-

65 (N.Y. 1989)).

       In the Complaint, CNA alleges that by entering into the RSA with the Committee and

filing a joint Chapter 11 Plan with the Committee, the Diocese has communicated its positive and

unequivocal repudiation of the Settlement Agreement with CNA. (ECF AP No. 1 ¶¶ 69-74).




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CNA alleges that it has incurred and will continue to incur damages, fees, and expenses flowing

IURPWKH'LRFHVH¶VUHSXGLDWLRQRIWKH6HWWOHPHQW$JUHHPHQW Id. at ¶¶ 75-78).

C.    $SSOLFDELOLW\RIWKH3ODXVLELOLW\6WDQGDUG:DUUDQWV'HQLDORIWKH'LRFHVH¶V0RWLRQWR
      Dismiss

      It bears repeating that, during the threshold review of a Complaint at the pleading stage,

³>t]he issue is not whether a plaintiff will ultimately prevail but whether the claimant is entitled

WRRIIHUHYLGHQFHWRVXSSRUWWKHFODLPV´0RRUH¶V)HGHUDO3UDFWLFH>@>D@ 0DWWKHZ

Bender 3d ed.) (quoting Scheuer v. Rhodes, 416 U.S. 232, 236 (1974)); see also Bernheim v. Litt,

79 F.3d 318, 321 (2d Cir. 1996). ³'LVPLVVDOXQGHU5XOH E  LVDSSURSULDWHRQO\ZKHUHWKH

FRPSODLQWODFNVDFRJQL]DEOHOHJDOWKHRU\RUVXIILFLHQWIDFWVWRVXSSRUWDFRJQL]DEOHOHJDOWKHRU\´

Galante v. Ocwen Loan Servicing LLC, No. ELH-13-1939, 2014 U.S. Dist. LEXIS 98049, at *24-

25 (D. Md. July 18, 2024) (internal quotation marks omitted) (quoting Hartmann v. Cal'HS¶W

of Corr. & Rehab., 707 F.3d 1114, 1122 (9th Cir. 2013)).

      5HPLQLVFHQWRIDWULFNVWHUUXQQLQJDVKHOOJDPHWKH'LRFHVH¶VPRWLRQFRUUHFWO\GHVFULEHV

WKH SODXVLELOLW\ VWDQGDUG UHTXLUHG WR EH DSSOLHG E\ WKH &RXUW LQ GHWHUPLQLQJ ZKHWKHU &1$¶V

Complaint can survive the motion to dismiss. (ECF AP No. 9 at 7-8). The motion recognizes

that under the Iqbal-Twombly precedent, CNA must set out sufficient facts to plausibly allege the

elements for a claim for breach of contract or anticipatory breach of contract. (Id. DW ³SODLQWLII

XVXDOO\PXVWDOOHJH´ ³7Rallege is formally to state a matter of fact as being true or provable,

without yet having proved LW´%U\DQ$*DUQHU*DUQHU¶V'LFWLRQDU\RI/HJDO8VDJH44 (3d ed.

2011). And, just as in the shell game, the Diocese then begins shuffling the walnut shells, hiding

the location of the pea.

      Pointing to the absence of signatures on the Settlement Agreement and the presence of

conditions precedent to the Settlement Agreement Effective Date, the Diocese argues that CNA

                                                  7



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    cannot ³establish´ the existence of a contract between the parties. (ECF AP No. 9 at 9-11). Of

    FRXUVH ³HVWDEOLVK´ PHDQV ³to put beyond doubt: PROVE´                 Merrian-Webster, Merriam-

    Webster.com Dictionary, https://www.merriam-webster.com/dictionary/establish (last visited

    Feb. 27, 2024)$QG³SURYH´PHDQV³WRHVWDEOLVKDIDFWRUK\SRWKHVLVDVWUXHE\VDWLVIDFWRU\DQG

    VXIILFLHQWHYLGHQFH´ %ODFN¶V/DZ'LFWLRQDU\ 1102 (5th ed. 1979). The motion then offers a tour

    de force on New York law concerning conditions precedent to contract formation or contract

    SHUIRUPDQFH UHSHDWHGO\ DUJXLQJ WKDW &1$ ³FDQQRW HVWDEOLVK´ ³IDLOHG WR SURYH´ DQG ³FDQQRW

    SURYH´IRUPDWLRQRUFRQWUDFWSHUIRUPDQFH2 (ECF AP No. 9 at 8-21).

          ³1HZ<RUNFRQWUDFWODZUHFRJQL]HVWZRGLVWLQFWW\SHVRIFRQGLWLRQVSUHFHGHQW . . . . On the

    RQHKDQGFRQGLWLRQVSUHFHGHQWWRSHUIRUPDQFHµGHVFULEHDFWVRUHYHQWVZKLFKPXVWRFFXUEHIRUH

    DSDUW\LVREOLJHGWRSHUIRUPDSURPLVHPDGHSXUVXDQWWRDQH[LVWLQJFRQWUDFW¶2QWKHRWKHUKDQG

    µFRQGLWLRQ>V@ SUHFHGHQW WR WKH IRUPDWLRQ RU H[LVWHQFH RI WKH FRQWUDFW LWVHOI¶ DUH FRQFHSWXDOO\

    GLVWLQFW DQG µQR FRQWUDFW DULVHV XQOHVV DQG XQWLO WKH FRQGLWLRQ RFFXUV¶´  Kortright Capital

    Partners LP v. Investcorp Inv. Advisers Ltd., 327 F. Supp. 3d 673, 680 (S.D.N.Y. 2018) (quoting

    Oppenheimer & Co. v. Oppenheim, Appel, Dixon & Co., 660 N.E.2d 415, 418 (N.Y. 1995)).

          7KH 'LRFHVH¶V PRWLRQ DUJXHV WKDW WKH 6HWWOHPHQW $JUHHPHQW H[SUHVVHV ³FOHDU ZULWWHQ

    LQWHQW´WKDWIRUPDWLRQRIDFRQWUDFWZDVVXEMHFWWRFRQGLWLRQVSUHFHGHQWRFFXUULQJ (&)1RDW

     7KDWSRVLWLRQLVEHOLHGE\WKH'LRFHVHWKHQDUJXLQJ³&RXUWDSSURYDOof the . . . Settlement

    Agreement is a specific condition precedent that was required to occur before any duty to perform

    arose´ Id. at 14 (emphasis added)). In an attempt to support its position, the Diocese points to

    the existence of facts concerning WKHSDUWLHV¶QHJRWLDWLRQVDQGWKHUHDVRQLQJEHKLQGWKHPDQQHU



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        The motion makes almost no mention of the second cause of action in the CNA Complaint
for anticipatory breach of contract, the elements of which are not the same as those necessary to
allege a breach of contract.
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 in which the Settlement Agreement was drafted. The existence or nonexistence of facts beyond

 those alleged in the Complaint is not properly before the Court in ruling on a motion to dismiss

 under Rule 12(b)(6). Whether the conditions precedent in the Settlement Agreement are as to

 ³IRUPDWLRQ´ RU ³SHUIRUPDQFH´ LV DPELJXRXV DV LV GHPRQVWUDWHG E\ WKH 'LRFHVH¶V evident

 confusion over what exactly the conditions precedent in the Settlement Agreement mean.

 ³Where ambiguity exists, the question of whether a given contractual provision qualifies as a

 condition precedent [to formation or performance] is an inappropriate determination at the

 SOHDGLQJ VWDJH´ Galante v. Ocwen Loan Servicing LLC¸ No. ELH-13-1939, 2014 U.S. Dist.

 LEXIS 98049, at *45 (D. Md. July 18, 2024) (internal quotation marks omitted) (quoting

 Azimirad v. HSBC Mortg. Corp., No. DKC 10-2853, 2011 U.S. Dist. LEXIS 40080, at *11 (D.

 Md. Apr. 12, 2011)).

                                                IV.
                                        CONCLUSION

       The Court finds that CNA has adequately pled causes of action for breach of contract and

anticipatory breach of contract in its Complaint. The motion of the Diocese to dismiss the

Complaint under Rule 12(b)(6) FRCP is DENIED.

       The parties are directed as follows:

   1) The Diocese is to file and serve its Answer to the Complaint within 20 days from the date

       of this Decision.

   2) Counsel to the parties are to meet and confer to agree upon a proposed discovery plan and

       proposed trial schedule. The Court anticipates conducting a trial in advance of a contested

       confirmation hearing. The Court will issue a trial scheduling order after considering the

       SDUWLHV¶SURSRVHGGLVFRYHU\SODQDQGSURSRVHGWULDOVFKHGXOHV



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   3) The CNA § 503 Administrative Claim (ECF BK No. 2314  DQG &1$¶V 0RWLRQ IRU

      Estimation of its administrative claim (ECF BK No. 2453) are necessarily subsumed with

      the trial of this Adversary Proceeding. The Court expects that WKH SDUWLHV¶ SURSRVHG

      discovery plan and proposed trial schedule will also address the manner in which they

      propose to present to the Court the issues related to estimation of &1$¶VDOOHJHG 503

      claim.

   4) The Court will hold a Rule 16 Conference with counsel shortly after receiving the proposed

      discovery plan and proposed trial schedule.


      IT IS SO ORDERED.

DATED: March 1, 2024                       ________________/s/___________________
       Rochester, New York                 HON. PAUL R. WARREN
                                           United States Bankruptcy Judge




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